           Case 1:18-vv-01544-UNJ Document 38 Filed 01/17/20 Page 1 of 4




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1544V
                                         UNPUBLISHED


    REBECA A. NOLAN,                                          Chief Special Master Corcoran

                         Petitioner,                          Filed: December 16, 2019
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Kathryn Lee Bruns, Faraci Lange, LLP, Rochester, NY, for petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.

                                DECISION AWARDING DAMAGES1

       On October 5, 2018, Rebeca A. Nolan filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to
vaccine administration (“SIRVA”), a Table Injury, due to an influenza (“flu”) vaccine she
received on October 14, 2015. Petition at ¶¶ 1-24. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On October 11, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On December 13, 2019, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded
$97,500.00 for her past and future pain and suffering. Proffer at 1. In the Proffer,
Respondent represented that Petitioner agrees with the proffered award. Id. Based on


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:18-vv-01544-UNJ Document 38 Filed 01/17/20 Page 2 of 4



the record as a whole, I find that Petitioner is entitled to an award as stated in the
Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $97,500.00, in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
               Case 1:18-vv-01544-UNJ Document 38 Filed 01/17/20 Page 3 of 4



                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                               OFFICE OF SPECIAL MASTERS

REBECA A. NOLAN,

                           Petitioner,

               v.                                        No. 18-1544V
                                                         Chief Special Master Corcoran
SECRETARY OF HEALTH AND                                  ECF-SPU
HUMAN SERVICES,

                           Respondent.


                    RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On October 5, 2018, Rebeca A. Nolan (“petitioner”) filed a petition for vaccine injury

compensation alleging that she suffered a left shoulder injury related to vaccine administration

(“SIRVA”), a Table injury, following receipt of an influenza (“flu”) vaccination administered on

October 14, 2015. Respondent filed his Rule 4(c) Report conceding entitlement to compensation

on October 9, 2019. The Chief Special Master issued a Ruling on Entitlement on October 11,

2019.

          I.         Items of Compensation

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

a total of $97,500.00 for her past and future pain and suffering. This represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner

agrees.



1
   Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future damages.

                                                   1
           Case 1:18-vv-01544-UNJ Document 38 Filed 01/17/20 Page 4 of 4



         II.    Form of the Award

         The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $97,500.00 in the form of a check payable to petitioner. 2

Petitioner agrees.

                                               Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               C. SALVATORE D’ALESSIO
                                               Acting Director
                                               Torts Branch, Civil Division

                                               CATHARINE E. REEVES
                                               Deputy Director
                                               Torts Branch, Civil Division

                                               ALEXIS B. BABCOCK
                                               Assistant Director
                                               Torts Branch, Civil Division

                                               s/Lisa A. Watts
                                               LISA A. WATTS
                                               Senior Trial Attorney
                                               Torts Branch, Civil Division
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DATED: December 13, 2019




2
    Petitioner is a competent adult. Proof of guardianship is not required in this case.
                                                 2
